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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WISCONSIN

 RAYMOND HEDGESPETH,

          Plaintiff,                                                ORDER
    v.
                                                            Case No. 20-cv-361-bbc
 DOUG BELLILE, et al

          Defendants.


         Plaintiff Raymond Hedgespeth has filed a proposed civil action under 42 U.S.C.

§ 1983, concerning Civil Rights at Sand Ridge Secure Treatment Center, where plaintiff is

in custody pursuant to Wis. Stat. ch. 980. Plaintiff has filed a motion for leave to proceed

without prepayment of the filing fee.

         As proof of indigence, plaintiff has filed a certified copy of a six-month resident

account statement so that the court can calculate what amount of money, if any, plaintiff

would have to prepay toward the filing fee. After considering the motion and supporting

documentation, the court concludes that plaintiff qualifies for indigent status.

         Using information for the relevant time period from plaintiff’s resident account

statement, I calculate plaintiff’s initial partial filing fee to be $19.32. For this case to

proceed, plaintiff must submit this amount on or before June 2, 2020.
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                                           ORDER

       IT IS ORDERED that:

       1.     The motion filed by plaintiff Raymond Hedgespeth for leave to proceed

without prepayment of the filing fee is GRANTED. Plaintiff is assessed $19.32 as an initial

partial payment of the $350.00 fee for filing this case as an indigent litigant. Plaintiff shall

submit a check or money order made payable to the “Clerk of Court” in the amount of

$19.32 on or before June 2, 2020. If plaintiff fails to comply as directed or show cause of

failure to do so, the court will assume that plaintiff does not wish to proceed and this case

will be dismissed without prejudice to plaintiff filing the case at a later date.

       2.     No further action will be taken in this case until the clerk’s office receives

plaintiff’s initial partial filing fee as directed above and the court has screened the

complaint as required by 28 U.S.C. § 1915(e)(2). Once the screening process is complete,

a separate order will issue.




              Entered this 12th day of May, 2020.

                                    BY THE COURT:


                                    /s/
                                    PETER OPPENEER
                                    Magistrate Judge
